Case: 6:13-cr-00032-GFVT-HAI             Doc #: 252 Filed: 09/15/17           Page: 1 of 2 - Page
                                            ID#: 642



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                         )
                                                   )
         Plaintiff,                                )     Criminal No. 6:13-CR-32-GFVT-HAI-5
                                                   )
 V.                                                )
                                                   )                     ORDER
 ADAM HOSKINS,                                     )
                                                   )
         Defendant.                                )
                                                   )

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition (“R&R”) of United

States Magistrate Judge Hanly Ingram. [R. 250.] After testing positive for Suboxone use, the

Defendant, Adam Hoskins, was charged with two violations of his Supervised Release. [Id. at

2.]

       The Supervised Violation Report issued by the United States Probation Office charged

Hoskins with two violations, each related to using a controlled substance in violation of the law.

[Id. at 2.] At the final hearing, Hoskins entered a valid stipulation to the two violations. [Id. at

3.] Upon evaluation of the entire record, including the most recent Supervised Release Violation

Reports and accompanying documents and the sentencing materials from the underlying

judgments in this District, Magistrate Ingram issued an R&R recommending revocation and a

term of imprisonment of eight months with one year of supervised release to follow. [Id. at 8.]

The Defendant has waived his right of allocution. [R. 251.]

       Generally, this Court must make a de novo determination of those portions of a

recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no
Case: 6:13-cr-00032-GFVT-HAI            Doc #: 252 Filed: 09/15/17           Page: 2 of 2 - Page
                                           ID#: 643



objections are made, however, this Court is not required to “review . . . a magistrate’s factual or

legal conclusions, under a de novo or any other standard . . . .” Thomas v. Arn, 474 U.S. 140,

150 (1985). Parties who fail to object to a Magistrate’s recommended disposition are also barred

from appealing a district court’s order adopting that report and recommendation. United States

v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this Court has examined the record, and it

agrees with the Magistrate Judge’s Recommended Disposition.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Magistrate’s Recommended Disposition [R. 250] as to Adam Hoskins is

ADOPTED as and for the Opinion of the Court;

       2.      Hoskins is found to have violated the terms of his Supervised Release as set forth

in the Petition filed by the United States Probation Office and the Recommended Disposition of

the Magistrate Judge;

       3.      Mr. Hoskins’s Supervised Release is REVOKED; and

       4.      Mr. Hoskins is hereby sentenced to a term of incarceration for eight (8) months

with twelve (12) months of supervised release to follow under the previous conditions.

       This the 14th day of September, 2017.




                                                 2
